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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Daniel D. Domenico

        Civil Action No. 1:23-cv-00939-DDD-SKC

        BELLA HEALTH AND WELLNESS et al.,

                Plaintiffs,
        v.

        PHIL WEISER et al.,

                Defendants.


                        ORDER REGARDING MOTIONS TO DISMISS
                       AND MOTION FOR PRELIMINARY INJUNCTION



                                     INTRODUCTION

             Colorado has long permitted pregnant women and their medical pro-
        viders to choose to terminate their pregnancies through what is collo-
        quially known as “the abortion pill” and is defined in state law as “med-
        ication abortion.” It had, until recently, also allowed women who regret-
        ted starting that process to seek to reverse it through the use of a hor-
        mone called progesterone. In the law that is the focus of this case, how-
        ever, the Colorado legislature effectively banned women and their med-
        ical providers from making this latter choice, which Colorado law calls
        “medication abortion reversal.” This unique law declares, among other
        things, that medication abortion reversal amounts to “unprofessional
        conduct” under the state’s medical licensing laws, subjecting doctors and
        nurses who administer this treatment to discipline and possible loss of
        their license to practice.




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           The Plaintiffs in this case are medical providers who say they have a
        religious duty to try to help women who wish to try to reverse a medica-
        tion abortion. They brought this case arguing that the State’s prohibi-
        tion of this treatment violates their First Amendment religious and
        speech rights. To protect those rights, they seek a preliminary injunction
        shielding them from discipline for providing or advertising this proce-
        dure.

           Defendants’ position, as they accurately summarized at the hearing
        on the relevant motions, is that this case can be resolved in their favor
        through a simple application of Employment Division, Department of
        Human Resources of Oregon v. Smith, 494 U.S. 872, 878-82 (1990). If
        Smith was all we had, they might be right. But while the Supreme Court
        has not explicitly overruled Smith, in the decades since that case was
        decided the Court has added considerable nuance and complexity to the
        analysis of cases like this one.

           Under that more recent precedent, the State generally cannot regu-
        late an activity if that regulation burdens religious exercise, provides for
        individualized exceptions, fails to regulate comparable secular activities
        that raise similar risks, and otherwise targets religious activity. The law
        at issue here runs afoul of these First Amendment principles. And be-
        cause it does, the State must come forward with a compelling interest of
        the highest order to maintain the law. It has not even attempted to do
        so. Plaintiffs are therefore entitled to a narrow preliminary injunction
        as outlined below.




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                                       BACKGROUND

        I.   Medication Abortion and Its Reversal

             The Colorado law at issue defines “medication abortion” as an “abor-
        tion conducted solely through the use of one or more prescription drugs.”
        Colo. Rev. Stat. § 12-30-120(1)(b). Medication abortion typically involves
        the use of two medications—mifepristone and misoprostol—and is an
        FDA-approved method for terminating an early pregnancy. Doc. 99-1
        at 3. Mifepristone inhibits the activity of progesterone, a naturally oc-
        curring hormone that plays an essential role in regulating female repro-
        ductive function. See Doc. 94 at 17-18; Doc. 99-1 at 3-4. Mifepristone
        causes the uterine lining to deteriorate, blocking oxygen and nutrition
        to the embryo and potentially resulting in detachment of the embryo
        from the endometrium. See Doc. 94 at 23-24; Doc. 99-1 at 4.

             Mifepristone alone, however, is not fully effective in aborting an em-
        bryo. There appears to be some dispute as to just how effective mifepris-
        tone is alone, but studies estimate that 20-46% of patients who only take
        mifepristone will continue their pregnancies. Doc. 99-1 at 4; See Doc. 94
        at 24. This is why patients also take the second drug—misoprostol—
        within a day or two of taking mifepristone to complete a medication
        abortion. Misoprostol dilates the cervix and induces muscle contrac-
        tions, clearing the uterus of the embryo. Doc. 99-1 at 4. The full, two-
        drug regimen is highly effective at ending a pregnancy, causing 97% of
        early-term pregnancies to terminate. See Doc. 99-1 at 4-5.

             But some women regret their decision to start the medication abor-
        tion regimen after taking the first pill but before taking the second. And
        others may have been coerced to start the regimen against their will.
        See Doc. 94 at 25. Defendants’ expert states that, in such circumstances,
        the “current standard of care” is to advise the patient not to take the


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        second pill, misoprostol, and to have doctors closely monitor the patient.
        Doc. 99-1 at 7. Such monitoring may include medical visits and ultra-
        sounds to ensure that the pregnancy continues normally and to check
        for any potential complications, including heavy bleeding, miscarriage,
        or early delivery. Id.

           Other doctors and medical professionals, however, have investigated
        whether treatment with progesterone can reverse the effects of mifepris-
        tone, the first abortion pill, better than just watchful waiting and avoid-
        ing use of the second abortion pill. This is commonly called “abortion pill
        reversal” or “medication abortion reversal.”

           Indeed, progesterone has been prescribed for many uses in pregnant
        women to sustain pregnancy in other scenarios, including for recurrent
        miscarriages, prevention of preterm birth, and support of endometrial
        function for certain patients suffering from infertility. See Doc. 94 at 19;
        Doc. 102-1 at 5-6. Researchers have estimated that providers employ the
        use of progesterone in 5-12% of all pregnancies for a variety of reasons.
        See N.E. Simons et al., The Long-Term Effect of Prenatal Progesterone
        Treatment on Child Development, Behaviour and Health: A Systematic
        Review, 128 BJOG: Int’l J. Obstetrics & Gynaecology 964, 972 (2020),
        https://perma.cc/8F83-EMSB. The parties appear to agree that proges-
        terone is “generally considered a low-risk medication” with “many off-
        label uses that meet generally accepted standards of medical practice.”
        See Doc. 99-1 at 17. There is scientific debate, however, on how effective
        progesterone treatment is for at least some of the aforementioned con-
        ditions. See, e.g., Doc. 102-1 at 7; Doc. 108-1 at 5.

           While limited, some evidence also suggests that progesterone may
        also aid in preventing termination of a pregnancy after ingestion of the
        first abortion pill—a point hotly contested by the parties. Much of this



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        evidence is limited to animal studies and case studies in humans that
        are not as rigorous as placebo-controlled, double-blind studies, for in-
        stance. See, e.g., Doc. 99-1 at 9-20 (Defendants’ expert critiquing studies
        relied upon by Plaintiffs and their expert). Nonetheless, some doctors
        believe it makes biological sense that progesterone might counteract
        mifepristone’s effects. See, e.g., Ruth Graham, A New Front in the War
        Over Reproductive Rights: ‘Abortion-Pill Reversal, N.Y. Times Maga-
        zine, July 18, 2017, https://perma.cc/CN75-8YEU (quoting Dr. Harvey
        Kliman, a doctor “in favor of abortion rights,” as stating that he would
        prescribe progesterone to his daughter if she wanted to counteract mif-
        epristone and that “I bet you it would work.”).

           But Defendants, their experts, and major medical industry bodies ar-
        gue that using progesterone to counteract mifepristone is unproven, in-
        effective, and potentially unsafe. For instance, Defendants’ expert
        Dr. Cohen notes that there may be an increased risk of hemorrhaging
        where a patient does not take the second abortion pill and also takes
        progesterone. But there is some uncertainty about whether this poten-
        tial risk is due to the patient not completing the full abortion regimen
        (i.e., taking the “watchful waiting” approach) or due to the patient also
        taking progesterone. See Doc. 99-1 at 15-16, 19-20.

        II. Bella Health and Plaintiffs

           Plaintiff Bella Health and Wellness is an independent, faith-based
        Catholic medical center offering “life-affirming, dignified health care” to
        women, men, and children. Doc. 94 ¶ 30. Bella Health currently oper-
        ates medical centers in Englewood and Denver, Colorado. Id. Prior to
        and during the early stages of this lawsuit, Bella operated another med-
        ical center in Lafayette that has since closed. Id.




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            Plaintiff Denise Chism is the co-founder and chief executive of Bella
        Health. She has worked as a nurse practitioner specializing in high-risk
        pregnancies for over twenty-seven years. Id. ¶ 31. Plaintiff Abby Sinnett
        also co-founded Bella Health and acts as its chief operating officer. Id.
        ¶ 32. She too is a nurse practitioner and specializes in labor and deliv-
        ery. Id. Plaintiff Kathleen Sander is a medical doctor board-certified in
        obstetrics and gynecology and has worked at Bella Health for the past
        five years. Id. ¶ 33. Ms. Chism and Ms. Sinnett co-founded Bella
        Health’s predecessor in 2014. Doc. 94 ¶ 43. Today, Bella Health has
        twenty providers and over 20,000 registered patients. Id. ¶ 44.1

            Bella Health’s articles of incorporation list several stated purposes
        for the organization, including to provide “spiritual, emotional, educa-
        tional, charitable, and financial support of human dignity” in accordance
        with Catholic teachings, “to promote and protect life from natural con-
        ception to natural death,” and “to deliver, and support the delivery of,
        charitable health services consistent with the teachings of the Catholic
        Church.” Doc. 94 ¶ 50. Bella’s patients and employees must sign forms
        acknowledging Bella’s commitment to “life-affirming health care” and
        Bella’s refusal to provide “contraception, sterilizations, or abortions.”
        Doc. 94 ¶ 55.

            Bella Health regularly prescribes progesterone to pregnant women,
        including those with prior miscarriage, first-trimester bleeding, prior
        preterm labor or delivery, and infertility. Doc. 94 ¶ 106. And pursuant
        to its religious commitment to “life-affirming” health care, Bella Health
        provides abortion pill reversal with progesterone. Id. ¶ 109. Indeed,
        Bella Health views offering abortion pill reversal as a “religious


        1   Unless the context otherwise requires, Plaintiffs collectively are re-
        ferred to as “Bella Health” in this Order.


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        obligation.” Id. Bella Health has treated several women in this way, in-
        cluding during the pendency of this lawsuit. Id. ¶¶ 115-17.

           Bella Health also advertises these services. On its website, Bella
        Health describes itself as a “comprehensive, life-affirming OB-GYN
        practice” and describes itself as providing a “full continuum of care.”
        Doc. 94 ¶ 123. Bella Health does not expressly advertise that it does not
        offer abortion services but appears not to expressly advertise that it
        does, either. Bella Health does, however, expressly advertise abortion
        pill reversal on its website and in its social-media postings. See id.
        ¶¶ 125-31.

        III. The Passage of SB 23-190

           In early 2023, the Colorado legislature debated Senate Bill 23-190
        before passing it and sending it to the Governor, who signed it into law.
        See Doc. 94 ¶ 153; S.B. 23-190, 74th Gen. Assemb., 1st Reg. Sess.
        (Colo. 2023), 2023 Colo. Legis. Serv. Ch. 70 (West) [hereinafter
        SB 23-190]. SB 23-190 contained three sections. The first section, titled,
        “Legislative declaration” recites a number of findings and declarations
        made by the general assembly. These include that:

              “Anti-abortion centers are the ground-level presence of a
               well-coordinated anti-choice movement”; and

              “Some anti-abortion centers go so far as to advertise med-
               ication abortion reversal, a dangerous and deceptive prac-
               tice that is not supported by science or clinical standards,
               according to the American College of Obstetricians and
               Gynecologists, or by the United States food and drug ad-
               ministration.”

        SB 23-190 § 1(1)(d), (f).

           The law further notes that Colorado’s consumer protection laws al-
        ready protect consumers from false or deceptive advertising and that, in


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        light of SB 23-190, “[t]his prohibition on deceptive trade practices ap-
        plies to disseminating or causing to be disseminated false advertising
        relating to the provision of abortion or emergency contraceptive services,
        or referrals for those services, and advertising for or providing or offer-
        ing to provide or make available medication abortion reversal.” Id.
        § 1(3)(b). Section One is not codified in Colorado Revised Statutes, how-
        ever.

           Section Two of the bill, in contrast, modified Colorado’s Consumer
        Protection Act to add the following definition of a “deceptive trade prac-
        tice” under that existing law:

                 A person engages in a deceptive trade practice when the
                 person makes or disseminates to the public or causes to be
                 made or disseminated to the public any advertisement that
                 indicates that the person provides abortions or emergency
                 contraceptives, or referrals for abortions or emergency con-
                 traceptives, when the person knows or reasonably should
                 have known, at the time of publication or dissemination to
                 the public of the advertisement, that the person does not
                 provide those specific services.

        Id. § 2(2) (codified at Colo. Rev. Stat. § 6-1-734(2)). The attorney general
        and district attorneys for the State’s judicial districts are concurrently
        responsible for the enforcement of the Colorado Consumer Protection
        Act, including as amended by SB 23-190.

           Section Three of SB 23-190 provided a new definition of “unprofes-
        sional conduct” under the State’s medical-licensing laws. Section Three
        reads:

                 A licensee, registrant, or certificant engages in unprofes-
                 sional conduct or is subject to discipline pursuant to this
                 title 12 if the licensee, registrant, or certificant provides,
                 prescribes, administers, or attempts medication abortion
                 reversal in this state, unless the Colorado medical board
                 created in section 12-240-105(1), the state board of phar-
                 macy created in section 12-280-104(1), and the state board


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               of nursing created in section 12-255-105(1), in consultation
               with each other, each have in effect rules finding that it is
               a generally accepted standard of practice to engage in med-
               ication abortion reversal.

        Id. § 3(2)(a) (codified at Colo. Rev. Stat. § 12-30-120(2)(a)). “Medication
        abortion reversal” is defined as “administering, dispensing, distributing,
        or delivering a drug with the intent to interfere with, reverse, or halt a
        medication abortion.” Id. § 3(1)(c) (codified at Colo. Rev. Stat.
        § 12-30-120(1)(c)). And a “medication abortion” is defined as an “abortion
        conducted solely through the use of one or more prescription drugs.” Id.
        § 3(1)(b) (codified at Colo. Rev. Stat. § 12-30-120(1)(b)).

           Plaintiffs have also provided unofficial transcripts of some of the leg-
        islative debate surrounding SB 23-190. For instance, Plaintiffs allege
        that one bill sponsor stated, in reference to a package of bills including
        SB 23-190, that the package targeted “misinformation in our communi-
        ties perpetrated by fake clinics.” Doc. 94-9 at 3. Plaintiffs also allege that
        the same sponsor stated during a legislative hearing that “anti-abortion
        center”—a term used in the bill—referred to “crisis pregnancy centers
        and fake clinics. They are faith-based organizations that pose as a com-
        prehensive reproductive healthcare clinic to intercept patients seeking
        abortion care.” Doc. 94-10 at 3. Plaintiffs further allege that a repre-
        sentative noted in a legislative hearing that “many of these crisis preg-
        nancy centers are religiously affiliated” which is “fine.” Doc. 94-13 at 14.
        But that representative went on to say that it’s an “issue” if the “reli-
        gious mentoring and counseling . . . are riddled with . . . guilt-inducing
        anti-abortion messages.” Id. Plaintiffs point to other comments made by
        legislators in a similar vein and comments suggesting that the legisla-
        tors believed using the term “comprehensive” may run afoul of the bill’s
        advertising rules. See Doc. 94 ¶¶ 159-185. For instance, one representa-
        tive stated that “[c]omprehensive reproductive care includes . . . the


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        morning-after pill [and] . . . abortion or referral for abortion.” Doc. 94-13
        at 3.

        IV. The Defendants

           Plaintiffs have sued Attorney General Phil Weiser in his official ca-
        pacity as Attorney General of Colorado; members of the State’s medical
        board (collectively, the “Medical Board”), all sued in their official capac-
        ities; and members of the State’s nursing board (collectively, the “Nurs-
        ing Board”), also all sued in their official capacities. These three sets of
        Defendants are referred to as the “State Defendants” or the “State”
        throughout this Order.

           Plaintiffs have also sued three Colorado district attorneys in their
        official capacities: Beth McCann, the District Attorney of the 2nd Judi-
        cial District of Colorado where one of Bella Health’s medical facilities is
        located; John Kellner, the District Attorney of the 18th Judicial District
        of Colorado, where another one of Bella Health’s medical facilities is lo-
        cated; and Michael Dougherty, the District Attorney of the 20th Judicial
        District of Colorado, where one of Bella Health’s former facilities was
        located.

        V. Procedural History and The Boards’ Decisions

           The same day that the Governor signed SB 23-190 into law, the
        Plaintiffs filed this suit, along with an emergency motion seeking a tem-
        porary restraining order enjoining enforcement of the new law. Docs. 1,
        7. I granted the Plaintiffs’ motion for a temporary restraining order in
        part, and restrained the Defendants from enforcing the bill against the
        Plaintiffs pending a hearing at which the propriety of issuing a prelimi-
        nary injunction could be determined. Doc. 8.




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           A preliminary-injunction hearing was held on April 24, 2023.
        Doc. 46. At that hearing, the Defendants represented that they would
        not enforce the new law at least until the rulemaking contemplated by
        the bill was completed. Given that representation, I found that injunc-
        tive relief was not necessary at that time, and I dissolved the temporary
        restraining order and denied the Plaintiffs’ request for a preliminary in-
        junction, but noted that the Plaintiffs could bring a new motion should
        the circumstances change. Doc. 48.

           The boards have now completed the rulemaking process contem-
        plated by SB 23-190. The Medical Board has adopted a final rule stating
        that:

                [T]he Board does not consider administering, dispensing,
                distributing, or delivering progesterone with the intent to
                interfere with, reverse, or halt a medication abortion un-
                dertaken through the use of mifepristone and/or miso-
                prostol to meet generally accepted standards of medical
                practice . . . . For other conduct that could meet the defini-
                tion of medication abortion reversal, the Board will inves-
                tigate such deviation on a case-by-case basis.

        Doc. 78. The State’s pharmacy board and the Nursing Board have
        adopted final rules stating that they “evaluate[] generally accepted
        standards of . . . practice on a case-by-case basis,” and that they “will not
        treat medication abortion reversal . . . as a per se act” of unprofessional
        conduct and will “investigate all complaints related to medication abor-
        tion reversal in the same manner that [they] investigate[] other alleged
        deviations from generally accepted standards of . . . practice.”
        Docs. 94-24, 94-26. Thus, medication abortion reversal is considered un-
        professional conduct under the provisions of SB 23-190 because none of
        the three boards has in effect a rule finding that it is a generally ac-
        cepted standard of practice. See Colo. Rev. Stat. § 12-30-120(2)(a).




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           The Plaintiffs have amended their complaint in light of the comple-
        tion of the rulemaking process and filed a renewed motion for a prelim-
        inary injunction. Docs. 92, 94. Also before the Court are motions to dis-
        miss filed by the district attorneys, Docs. 58, 67, 95; the attorney gen-
        eral, Doc. 68; and the Nursing Board, Doc. 107. The preliminary-injunc-
        tion motion, two of the district attorneys’ motions to dismiss, and the
        attorney general’s motion to dismiss have been fully briefed. District At-
        torney Dougherty’s and the Nursing Board’s motions have not been fully
        briefed. A hearing on all these motions was held on October 17, 2023.
        Doc. 110.

                                    LEGAL STANDARDS

           Under Federal Rule of Civil Procedure 12(b)(1), a party may move to
        dismiss for lack of subject-matter jurisdiction, “mounting either a facial
        or factual attack.” Baker v. USD 229 Blue Valley, 979 F.3d 866, 872
        (10th Cir. 2020). Factual attacks go “beyond the allegations in the com-
        plaint and adduce[] evidence to contest jurisdiction.” Id. In such cases, a
        district court has “wide discretion to allow affidavits, other documents,
        and a limited evidentiary hearing to resolve disputed jurisdictional
        facts.” Id. Reliance on such evidence does not necessarily convert the
        motion to one for summary judgment. Id.

           When presented with a motion to dismiss for failure to state a claim
        under Federal Rule of Civil Procedure 12(b)(6), a court “must accept all
        the well-pleaded allegations of the complaint as true and must construe
        them in the light most favorable to the plaintiff.” Alvarado v. KOB-TV,
        L.L.C., 493 F.3d 1210, 1215 (10th Cir. 2007). But “mere ‘labels and con-
        clusions’ and ‘a formulaic recitation of the elements of a cause of action’
        will not suffice” to state a plausible claim for relief. Khalik v. United Air
        Lines, 671 F.3d 1188, 1191 (10th Cir. 2012) (quoting Bell Atl. Corp. v.



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        Twombly, 550 U.S. 544, 555 (2007)). So a court should “disregard con-
        clusory statements and look only to whether the remaining, factual al-
        legations plausibly suggest the defendant is liable.” Id. “A claim has fa-
        cial plausibility when the plaintiff pleads factual content that allows the
        court to draw the reasonable inference that the defendant is liable for
        the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

             “A preliminary injunction is an extraordinary remedy, the exception
        rather than the rule.” Mrs. Fields Franchising, LLC v. MFGPC, 941
        F.3d 1221, 1232 (10th Cir. 2019). One may be granted “only when the
        movant’s right to relief is clear and unequivocal.” McDonnell v. City &
        Cty. of Denver, 878 F.3d 1247, 1257 (10th Cir. 2018). To succeed on a
        motion for preliminary injunction, the moving party must show: (1) that
        it is “substantially likely to succeed on the merits”; (2) that it will “suffer
        irreparable injury” if the court denies the injunction; (3) that its “threat-
        ened injury” without the injunction outweighs the opposing party’s un-
        der the injunction; and (4) that the injunction is not “adverse to the pub-
        lic interest.” Mrs. Fields, 941 F.3d at 1232; accord Winter v. Nat. Res.
        Def. Council, Inc., 555 U.S. 7, 20 (2008). The third and fourth prelimi-
        nary-injunction factors “merge” when the government is the party op-
        posing the injunction. Nken v. Holder, 556 U.S. 418, 435 (2009).

                                        DISCUSSION

        I.   Motions to Dismiss and Subject-Matter Jurisdiction

             In their motions to dismiss and in their responses to the preliminary-
        injunction motion, Defendants raise several defenses, including the
        Court’s alleged lack of subject-matter jurisdiction. Before entering an
        injunction, a court must first determine whether standing exists. See
        Initiative & Referendum Inst. v. Walker, 450 F.3d 1082, 1087 (10th
        Cir. 2006) (“[W]e cannot reach the merits based on ‘hypothetical


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        standing,’ any more than we can exercise hypothetical subject matter
        jurisdiction.”). I therefore resolve all of Defendants’ pending motions in
        this Order, including the subject-matter jurisdiction issues raised
        therein.

           Article III of the Constitution limits the jurisdiction of federal courts
        to “Cases” and “Controversies.” U.S. Const. art. III, § 2. “The doctrine of
        standing gives meaning to these constitutional limits by identifying
        those disputes which are appropriately resolved through the judicial
        process.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157 (2014).
        To establish standing, a plaintiff must show (1) an injury in fact, (2) a
        causal connection between the injury and the alleged conduct, and
        (3) redressability. Id. at 157-58. An “injury in fact” must be “concrete
        and particularized” and “actual or imminent, not conjectural or hypo-
        thetical.” Id. at 158 (internal quotation marks omitted).

           But an injury in fact need not amount to an “actual arrest, prosecu-
        tion or other enforcement action.” Id. For First Amendment claims, “two
        types of injuries may confer Article III standing to seek prospective re-
        lief,” even if a plaintiff has “never been prosecuted or actively threatened
        with prosecution.” Ward v. Utah, 321 F.3d 1263, 1267 (10th Cir. 2003);
        accord Colo. Union of Taxpayers, Inc. v. Griswold, No. 22-1122, 2023
        WL 5426581, at *1 (10th Cir. Aug. 23, 2023).

           The first type of injury requires only that a plaintiff intends to “en-
        gage in conduct that would . . . arguably violate the law” and that such
        conduct would “give rise to a credible fear of an enforcement action.”
        Griswold, 2023 WL 5426581, at *1. The second type of injury occurs
        where a plaintiff is “chilled” from doing constitutionally protected con-
        duct, typically speech. Under the latter theory, the plaintiff must pro-
        vide (1) evidence that in the past they engaged in the type of speech or



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        conduct affected by the challenged government action; (2) evidence that
        the plaintiff has a present desire, though no specific plans, to engage in
        such speech or conduct; and (3) a plausible claim that the plaintiff has
        no intention to engage in such speech or conduct because of a credible
        threat that the law will be enforced. Peck v. McCann, 43 F.4th 1116,
        1129-31 (10th Cir. 2022).

            Under either of these two standing theories, the third “credible
        threat” prong of this test is the same and includes a multi-factor analy-
        sis. Griswold, 2023 WL 5426581, at *3 n.4 (“We have never interpreted
        a ‘credible fear’ differently based on the plaintiff’s theory of standing.”).
        The non-exhaustive “credible fear” factors are:

               Whether there is evidence of past enforcement against the
                same conduct;

               Whether authority to initiate charges is not limited to a
                prosecutor or an agency and, instead, any person could file
                a complaint or grievance against the plaintiff; and

               Whether the state disavowed future enforcement.

        See Peck, 43 F.4th at 1132; see also Griswold, 2023 WL 5426581, at *3
        (noting that courts consider “at least” these three factors).

            The credible-fear prong “is not supposed to be a difficult bar for plain-
        tiffs to clear in the First Amendment pre-enforcement context.” Peck, 43
        F.4th at 1132.2 And the “threat of prosecution is generally credible
        where a challenged provision on its face proscribes the conduct in which
        a plaintiff wishes to engage, and the state has not disavowed any


        2   Peck addressed free speech which is only partly at issue here. De-
        fendants have not provided any argument why Peck should not apply as
        to other First Amendment claims, however, such as religious freedom
        claims. Given this, the Court sees no reason not to apply Peck’s standard
        as a whole to the claims here.


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        intention of invoking the provision against the plaintiff.” United States
        v. Sup. Ct. of N.M., 839 F.3d 888, 901 (10th Cir. 2016) (internal quota-
        tion marks and alteration omitted).

            A. The District Attorneys

           Each of the district attorneys has moved to dismiss Plaintiffs’ claims
        on similar standing grounds—namely, that Plaintiffs face no credible
        threat of enforcement by the district attorneys. The parties agree that
        the district attorneys could enforce the advertising-related provisions of
        SB 23-190 under the Colorado Consumer Protection Act (“CCPA”). The
        question, however, is whether Plaintiffs objectively fear that the district
        attorneys will.

           District Attorney McCann declared, prior to the filing of the amended
        complaint, that her office has not initiated any civil proceeding to en-
        force the CCPA in the past six years. Doc. 58-1 at 1-2. She is also una-
        ware of any such civil enforcement action prior to her time in office. Id.
        at 1-2. District Attorney McCann further declared, “I have no intent to
        investigate or prosecute an action under the CCPA for the purpose of
        enforcing SB 23-190, either against the Plaintiffs or anyone else.” Id.
        at 2.

           District Attorney Kellner provided a similar declaration, also prior
        to the filing of the amended complaint. He stated that he is unaware of
        any CCPA enforcement by his office at any time. Doc. 67-1 at 1. He
        stated that he “will not enforce this civil penalty statute against these
        Plaintiffs. Further, any person who complains about an advertisement
        that is believed a violation of this statute will be advised to contact the
        Attorney General’s Office.” Id. at 2.




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           District Attorney Dougherty also provided a declaration prior to the
        filing of the amended complaint stating that he did not understand
        SB 23-190 to prohibit the advertising of abortion pill reversal despite
        the legislative declaration found in Section One of the bill. Doc. 32-4
        at 2-3. While somewhat caveated, he suggested that he would not pros-
        ecute Plaintiffs for their advertisements as alleged in the then-operative
        complaint. See id. at 3-5. But since then, Bella Health has ceased oper-
        ations in District Attorney Dougherty’s jurisdiction. After the filing of
        the amended complaint, District Attorney Dougherty provided a new
        declaration stating:

               Because the Colorado Medical Board did not complete its
               rulemaking before Bella Health’s Lafayette location closed
               and because Bella Health’s remaining locations are not
               within the Twentieth Judicial District, I will not investi-
               gate or prosecute an action against Bella Health under the
               CCPA for the purpose of enforcing SB 23-190.

        Doc. 95-1 ¶ 8.

           These declarations are sufficient to defeat standing as to the district
        attorneys. First, there is an apparent longstanding lack of enforcement
        of the CCPA, at least as to two of the district attorneys. Such has been
        the case for many years as to District Attorneys McCann and Kellner.
        While SB 23-190 did amend the CCPA, there is no apparent reason why
        those two district attorneys’ offices would change their policy of never
        pursuing civil enforcement actions under that law. And as to District
        Attorney Dougherty, it appears that his office generally does not and
        has not pursued civil enforcement actions against defendants based out-
        side of his jurisdiction. See Doc. 95-1 at 3.

           As to the second credible-fear factor, it appears that any third-party
        complaints brought to the attention of the district attorneys would, at
        most, be referred to the attorney general. While this likely supports a


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        finding of standing as to the claims brought against the attorney gen-
        eral, the opposite appears to be true as to the district attorneys.

           Finally—and most importantly—all three district attorneys have
        provided clear disavowals, two of which came prior to the filing of the
        operative complaint. See Mink v. Suthers, 482 F.3d 1244, 1255 (10th
        Cir. 2007) (finding lack of standing and stating “it is significant” that
        disavowals came after original complaint but prior to operative,
        amended complaint). Indeed, “assurances from prosecutors that they do
        not intend to bring charges are sufficient to defeat standing.” Id. (em-
        phasis added) (alteration omitted). Plaintiffs have such assurances from
        all three district attorneys.

           Plaintiffs resist this conclusion on several grounds. They first argue
        that the law is new and therefore inherently lacks any prior enforcement
        history. While SB 23-190 is new, the CCPA is not. And there’s no sug-
        gestion, at least in the Kellner and McCann declarations, that their lack
        of prior enforcement hinged on amendments to the CCPA. Rather, those
        district attorneys appear not to bring civil enforcement actions under
        the CCPA as a matter of general policy and leave that to the State’s civil
        enforcement arm found within the attorney general’s office. And as to
        District Attorney Dougherty, there is no evidence in the record that his
        office pursues or has pursued enforcement actions against defendants
        located outside of the bounds of his judicial district.

           Plaintiffs next argue that any person may bring a CCPA action.
        While true, this is more relevant as to the attorney general, not the dis-
        trict attorneys, for the same reasons just explained. And standing is gen-
        erally evaluated for each claim and as to each defendant, not collectively.
        See In re Takata Airbag Prod. Liab. Litig., 396 F. Supp. 3d 1101, 1126
        (S.D. Fla. 2019) (holding that “standing is defendant specific” (citing



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        DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 (2006))); see also Jack-
        son v. Fed. Bureau of Prisons, No. 4:19-cv-00287, 2019 WL 8752339,
        at *3 (M.D. Pa. Dec. 9, 2019) (collecting cases). Plaintiffs may credibly
        fear enforcement by the attorney general based on the availability of
        third-party CCPA complaints. But Plaintiffs’ fear of enforcement by the
        district attorneys on this ground is tenuous at best given that these com-
        plaints either would not be pursued by the district attorneys or would
        be referred to the attorney general.

           Finally, Plaintiffs take issue with the district attorneys’ disavowals,
        characterizing them as not adequate. Plaintiffs note that in Mink and
        the cases that the Mink court reviewed, the prosecutors tended to aban-
        don enforcement due to their belief that the law in question was unen-
        forceable, often due to intervening Supreme Court precedent. While
        such controlling law may further diminish a credible fear of enforce-
        ment, I do not read those cases to require disavowals to be predicated on
        controlling legal authority barring enforcement. See, e.g., D.L.S. v. Utah,
        374 F.3d 971, 975 (10th Cir. 2004) (holding that prosecutor’s disavowal
        was “sufficient to defeat standing” and only that any “lingering threat of
        prosecution that might have survived the prosecutors’ affidavits has now
        been snuffed out” by controlling Supreme Court precedent (emphasis
        added)). Indeed, “such disavowals are important only in cases in which,
        without a disavowal, the plaintiff seeking to enjoin enforcement would
        have a reasonable basis for concern that he might be prosecuted.” Wins-
        ness v. Yocom, 433 F.3d 727, 733 (10th Cir. 2006 (quoting Lawson v.
        Hill, 368 F.3d 955, 959 (7th Cir. 2004)). In cases where a statute is so
        obviously unconstitutional or inapplicable, then, there is already a very
        low probability of prosecution. To require disavowals to always be based
        on the legal impossibility of enforcing the statute would therefore render
        this factor largely irrelevant. See id.



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           Plaintiffs also cite Peck and Ward for the proposition that standing
        exists where “a government disavowal failed to disclaim permanent fu-
        ture enforcement of the plaintiff’s conduct.” But in Peck, the state main-
        tained a “staunch refusal to disavow prosecution” at all because doing
        so would jeopardize its federal funding. 43 F.4th at 1133. And in Ward,
        the plaintiff had “been given no assurances that he will not be charged.”
        321 F.3d at 1268 (emphasis added). In contrast, here the district attor-
        neys have all said they either “do not intend” to prosecute Plaintiffs or
        “will not” prosecute Plaintiffs. That, it seems, is “sufficient” under Mink
        even if the disavowal does not amount to a binding policy on all of the
        prosecutor’s successors in perpetuity. See 482 F.3d at 1253. Indeed, fac-
        ing a similar argument, the Mink court noted that the mere “possibility”
        of future enforcement need not be “reduced to zero,” even if a disavowal
        may not bind future district attorneys. 482 F.3d at 1255.

           Even if the district attorneys’ disavowals alone are not sufficient to
        defeat standing, the ultimate question is whether Plaintiffs have “an
        objectively justified fear of real consequences” from these defendants.
        See Peck, 43 F.4th at 1132. They do not. All three district attorneys have
        stated, unequivocally, that they will not enforce SB 23-190 against the
        Plaintiffs at all. There is a long history of non-enforcement of the CCPA
        by at least two of these district attorneys. And as to the third, Plaintiffs
        no longer operate in his jurisdiction. These factors, taken together, show
        that Plaintiffs lack an objectively justified fear of enforcement by these
        prosecutors. Plaintiffs therefore lack standing to bring their claims
        against these three defendants, and Plaintiffs’ claims as to these three
        defendants will be dismissed.




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            B. The Attorney General, Medical Board, and Nursing
               Board

           For purposes of the first preliminary-injunction motion, the attorney
        general, Medical Board, and Nursing Board raised several standing ar-
        guments. But much of those arguments focused on the pending rulemak-
        ing that had not finished. That rulemaking has since been completed,
        and Section Three’s prohibition on medication abortion reversal is un-
        questionably the law now in Colorado.

           Perhaps unsurprisingly, therefore, the State Defendants appear to
        have abandoned many of those standing arguments as to Section Three
        in opposing the second preliminary-injunction motion. The State De-
        fendants maintain their defense that there is no standing for advertis-
        ing-based claims, arguing that (1) Plaintiffs are not violating that part
        of the law, and (2) Plaintiffs do not credibly fear enforcement under that
        part of the law. The attorney general has also separately raised an Elev-
        enth Amendment defense in his motion to dismiss. And the Nursing
        Board has raised its own standing arguments in its recent motion to
        dismiss, arguing that (1) Plaintiffs lack standing as to Section Two
        claims because the Nursing Board lacks enforcement authority under
        the CCPA, and (2) Plaintiffs lack standing as to Section Three claims
        due to the Nursing Board’s equivocal rule regarding enforcement and
        the lack of redressability for such claims. See Doc. 107.

                1.   Plaintiffs “Arguably” Violate the CCPA’s Advertising
                     Rules

           As noted above, for a pre-enforcement action, Plaintiffs must show
        that they intend to “engage in conduct that would arguably violate the
        law.” Griswold, 2023 WL 5426581, at *1. The question here remains:
        what is the law? Section One of SB 23-190, if it amounted to substantive



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        law that proscribes conduct, clearly prohibits much of Plaintiffs’ adver-
        tising that amounts to “advertising for . . . medication abortion rever-
        sal.” SB 23-190 § 1(3)(b). But Section One has not been codified and is
        titled as a legislative declaration.

           If Section One is ignored, Defendants have a fairly strong argument
        that Plaintiffs’ advertisements do not run afoul of Section Two’s prohi-
        bition on advertising abortions if a provider does not, in fact, provide
        abortions. Even so, there remains some debate about whether Plaintiffs’
        advertisements regarding “comprehensive” care, if not caveated with
        sufficient language like “life-affirming,” could be construed as running
        afoul of the plain language of Section Two because it may confuse cus-
        tomers into believing that Plaintiffs offer abortions.

           In any event, Section One cannot be ignored entirely. It seems un-
        likely that Section One has no bearing on how a Colorado court may
        interpret the CCPA in light of SB 23-190. Indeed, Colorado courts may
        turn to legislative declarations to determine a law’s purpose and to in-
        terpret other sections, particularly where other sections are ambiguous.
        See People ex rel. T.B., 452 P.3d 36, 43 (Colo. App. 2016). Even if no court
        has found the phrase “deceptive trade practice” to be ambiguous under
        the CCPA as it existed prior to SB 23-190, that may not be the case going
        forward in light of SB 23-190. And there are other terms in the law that
        a court may find ambiguous that would bear on these issues.

           Given all this, it seems at the very least “arguable” that some of
        Plaintiffs’ advertisements, such as those regarding “comprehensive”
        care could run afoul of the laws on the books. It also is at least arguable
        that Plaintiffs’ advertisements for medication abortion reversal, stand-
        ing alone, violate the CCPA in view of Section One’s legislative declara-
        tion. These uncertainties in Colorado law render Plaintiffs “arguably” in



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        violation of the CCPA based on their advertisements and website state-
        ments as alleged in the verified amended complaint. This is particularly
        so under the “not . . . difficult” and “extremely low” evidentiary bar for
        demonstrating the credible-fear element of pre-enforcement standing.
        Peck, 43 F.4th at 1133 (quoting, in part, Mangual v. Rotger-Sabat, 317
        F.3d 45, 47 (1st Cir. 2003)).

           For similar reasons, Plaintiffs have plausibly stated a claim for relief
        that application of SB 23-190, either directly through Section One or
        through the CCPA in view of Section One, proscribes their conduct and
        may violate their First Amendment rights. As suggested in Plaintiffs’
        amended complaint and as further clarified at the hearing on these mo-
        tions, Plaintiffs seek relief from the CCPA being enforced against them
        in view of Section One of SB 23-190, even if it’s debatable whether Sec-
        tion One itself has the force of law. And for the reasons stated above,
        Plaintiffs arguably run afoul of the law’s potential prohibition on adver-
        tising abortion pill reversal. Therefore, regardless of the precise statu-
        tory basis, Plaintiffs’ advertising-related claims survive this attack as
        well.

                2.   Plaintiffs Credibly Fear the Attorney General’s
                     Enforcement

           The attorney general next argues that Plaintiffs lack a credible fear
        of enforcement for any advertising-based claim under the CCPA. But his
        arguments are unpersuasive.

           Regarding past enforcement, the attorney general has not suggested
        that he does not regularly enforce the CCPA, and the district attorneys
        have stated that they would refer complaints to him. And any lack of
        enforcement under the CCPA, as amended by SB 23-190, does little to
        diminish a fear of enforcement given how new the law is. Indeed, a new


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        law’s “existence alone may create a threat that is credible enough to cre-
        ate standing.” Brown v. Herbert, 850 F. Supp. 2d 1240, 1248
        (D. Utah 2012).

           As to third-party enforcement, Defendants do not dispute that third
        parties may bring complaints under the CCPA that could also trigger an
        enforcement action by the attorney general. This factor also therefore
        weighs in favor of standing.

           And as to disavowal, the attorney general cites to the April prelimi-
        nary-injunction hearing where counsel, not the attorney general him-
        self, provided some limited disavowals as to advertisements that contain
        the word “comprehensive.” Counsel made similar concessions at the Oc-
        tober hearing on the present motions. While relevant, these concessions
        do not have the same sort of force as the attorney general forswearing
        enforcement under penalty of perjury like the district attorneys have.
        And in any event, this limited “disavowal” provides Plaintiffs with no
        protection as to their advertisements for medication abortion reversal
        which, as stated above, arguably run afoul of the CCPA in view of Sec-
        tion One.

           Given all this, Plaintiffs credibly fear enforcement by the attorney
        general. The attorney general has provided no sworn disavowal, there is
        a history of past enforcement of the CCPA, and third parties can trigger
        an investigation and even bring their own suits. All factors weigh in
        Plaintiffs’ favor, and they therefore have standing as to advertising-
        based claims and Section Three-based claims brought by the attorney
        general (which the attorney general must bring upon referral by the
        boards as discussed below).




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                3.   Plaintiffs Credibly Fear the Nursing Board’s
                     Enforcement

           In its motion to dismiss (filed after the State Defendants’ joint re-
        sponse to the second preliminary-injunction motion), the Nursing Board
        argues first that Plaintiffs lack any credible fear that the Nursing Board
        would discipline them for providing medical abortion reversal. The
        Nursing Board notes that it adopted a rule stating that it would evaluate
        such issues on a “case-by-case” basis and that it retains discretion to not
        discipline licensees even where a violation may be found. This argument
        suffers from several flaws.

           First, the Nursing Board cites no authority for the proposition that a
        state agency’s discretion, standing alone, can defeat standing. Indeed,
        prosecutors have wide discretion whether to bring charges, what
        charges to bring, and what sort of sentence to seek in court—analogous
        discretion to that exercised by the Nursing Board. That does not mean
        Plaintiffs lack pre-enforcement standing. To the contrary, the threat of
        potential enforcement, even if there are several administrative hoops
        that must happen before any sort of discipline occurs, is sufficient to
        confer standing in this context. As the Tenth Circuit held in 303 Creative
        LLC v. Elenis in the related context of ripeness:

              Certainly, the record would be better developed, and the
              legal issues would be clearer, if Appellants had denied ser-
              vices to a customer, that customer filed a complaint, and
              that complaint was adjudicated through the appropriate
              administrative and judicial channels. Yet, as discussed
              above, Article III does not require a pre-enforcement plain-
              tiff to risk arrest or actual prosecution before bringing [a]
              claim in federal court.

        6 F.4th 1160, 1176 (10th Cir. 2021), rev’d on other grounds, 600 U.S. 570
        (2023). Indeed, the threat of a burdensome investigation, standing
        alone, can bolster a finding of standing. See id. at 1174.


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           Second, SB 23-190 does not appear to give the Nursing Board discre-
        tion to find that medication abortion reversal does not amount to unpro-
        fessional conduct. The Nursing Board argues that there is no “per se”
        ban on medication abortion reversal. But SB 23-190 states that perform-
        ing medication abortion reversal amounts to “engag[ing] in unprofes-
        sional conduct” or “subject[s] [a provider] to discipline” “unless” the three
        boards all find that medication abortion reversal is “a generally accepted
        standard of practice.” Colo Rev. Stat. § 12-30-120(2)(a) (emphasis
        added). The boards did not find medication abortion reversal to be a
        “generally accepted standard of practice.” So it is per se unprofessional
        conduct under the statute. The Nursing Board repeatedly leans on the
        Nurse Practice Act but ignores this newer statute that clearly states
        that medication abortion reversal is unprofessional conduct as a matter
        of law.

           Third, the Nursing Board has provided no enforcement disavowal
        whatsoever. Instead, the Nursing Board appears to argue only that it is
        possible that it won’t discipline Plaintiffs or that any discipline might be
        minimal. That is a far cry from the showing needed to defeat pre-en-
        forcement standing.

           Next, the Nursing Board argues that any remedies sought here
        would not redress Plaintiffs’ alleged injuries (or potential future inju-
        ries). The Nursing Board notes that it retains some discretion to disci-
        pline Plaintiffs for other reasons, such as whether Plaintiffs’ conduct
        meets the generally accepted standard of care, putting aside SB 23-190.
        The Nursing Board appears to argue that it could or would discipline
        Plaintiffs for conducting medication abortion reversal pursuant to its
        power under the Nurse Practice Act and without regard to SB 23-190.
        And because Plaintiffs have couched their requested relief within the
        confines of SB 23-190, the Nursing Board argues, Plaintiffs’ alleged


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        injury—the threat of being punished for conducting medication abortion
        reversal—cannot be redressed because any remedy can only affect the
        enforceability of SB 23-190, not the Nursing Practice Act.

            Plaintiffs may not have referenced the Nurse Practice Act in the
        amended complaint because it appears not to have been raised as a sep-
        arate basis for potential discipline until now. In any event, the Nursing
        Board’s discretion under that Act does not negate Plaintiffs’ credible fear
        of being punished for administering abortion pill reversal treatment.
        And the Court can redress that injury with injunctive or declaratory re-
        lief.

            The Nursing Board raises a related argument that, because it lacks
        authority to enforce the CCPA, Plaintiffs lack a credible fear of enforce-
        ment as to their advertising-based claims (and fail to state a claim under
        Rule 12(b)(6)) as to the Nursing Board. But this argument fails for sim-
        ilar reasons. As counsel for the Nursing Board suggested at the hearing,
        at least the Medical Board can discipline providers for “deceptive adver-
        tising” under the Medical Practice Act. Doc. 111 at 54 (counsel appear-
        ing on behalf of both the Medical Board and Nursing Board); id. at 54-55
        (describing Medical Board’s enforcement authority under Medical Prac-
        tice Act). It seems that the Nursing Board exercises similar broad au-
        thority under the Nurse Practice Act. See Colo. Rev. Stat. § 12-255-120;
        see also Doc. 107 at 9 (Nursing Board noting that it considers “any other
        information about [a] licensee’s conduct collected during the Board’s in-
        vestigation” when deciding on discipline under Nurse Practice Act). Be-
        cause the claimed injury here is not being allowed to advertise abortion
        pill reversal, Plaintiffs credibly fear enforcement by the boards even if
        under this separate but related statutory basis rather than under the
        CCPA itself. And both SB 23-190 and Plaintiffs’ advertisements cer-
        tainly could inform the Nursing Board’s discipline decisions even if


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        technically made pursuant to the Nurse Practice Act. Plaintiffs have
        therefore met the low bar to establish standing and to state a claim as
        to their advertising-based claims.

           The Nursing Board’s cited cases also do not support its apparent po-
        sition regarding redressability. In Lujan v. Defenders of Wildlife, the Su-
        preme Court held that the plaintiff could not show redressability largely
        because the relief sought would have to be provided by non-parties
        whom plaintiff never sued. See 504 U.S. 555, 568-71 (1992) (holding that
        defendant Secretary’s regulation likely could not bind non-party funding
        agencies who ultimately provided the funding sought by the plaintiff,
        rendering injury not redressable). Such is not the case here. The Nurs-
        ing Board’s other cited case, Opala v. White, is also inapposite. 454
        F.3d 1154, 1155 (10th Cir. 2006). There, a justice of the Oklahoma Su-
        preme Court sought court intervention because his colleagues on the
        bench did not elect him to be chief justice. 454 F.3d 1154, 1155 (10th
        Cir. 2006). The Tenth Circuit held that any relief it could grant would
        be, at best, retroactive because the plaintiff sought to “reinstate the pre-
        determined sequential order” for appointment to chief justice that ex-
        isted prior to his injury. Id. at 1159-60. The facts at issue here are very
        different. And the legal principle applied in Opala—that a court cannot
        provide retroactive relief under Ex parte Young—does not apply here.
        Plaintiffs do not seek retroactive relief; they have not been disciplined
        yet. Instead, they seek prospective relief to prevent that from happen-
        ing. Declaratory and injunctive relief in this context therefore is availa-
        ble to redress the claimed injuries.

                4.   Plaintiffs’ Claims Against the Attorney General Are
                     Not Barred by the Eleventh Amendment

             The attorney general has also moved to dismiss under the Eleventh
          Amendment as to any Section Three-related claims. Doc. 68 at 14-17.


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             The Eleventh Amendment has been held to bar citizens from suing
          states, including their own, in federal court. See U.S. Const. amend. XI;
          Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 827 (10th
          Cir. 2007). But this immunity does not extend to state officials sued in
          their official capacity where the plaintiff seeks only prospective relief
          based on federal law under what is known as the Ex parte Young ex-
          ception. Chamber of Com. of U.S. v. Edmondson, 594 F.3d 742, 760
          (10th Cir. 2010) (citing Ex parte Young, 209 U.S. 123, 157 (1908)). For
          this exception to apply, however, the defendant officer must have
          “some connection with the enforcement of the act, or else it is merely
          making him a party as a representative of the state, and thereby at-
          tempting to make the state a party.” Ex parte Young, 209 U.S. at 157.
          But this need not be any “special connection” to the challenged statute;
          instead, the officer need only “have a particular duty to enforce the
          statute in question and a demonstrated willingness to exercise that
          duty.” Edmondson, 594 F.3d at 760 (internal quotation marks omit-
          ted).

             The attorney general argues that he has no “particular duty” or
          “demonstrated willingness” to enforce Section Three of SB 23-190. The
          attorney general concedes that state statute “direct[s]” him to prose-
          cute complaints referred to him by the Medical and Nursing Boards.
          Doc. 68 at 16. But he argues that these “client-service duties” are too
          general to overcome the Eleventh Amendment, citing Edmondson. But
          in Edmondson, the Tenth Circuit held that there was no duty to en-
          force an employment-specific part of an Oklahoma statute and only a
          duty to enforce a housing-specific part not at issue in the case. See 594
          F.3d at 750. The attorney general also cites Hendrickson v. AFSCME
          Council 18, 992 F.3d 950, 965 (10th Cir. 2021). But in that case, there
          was no specific statute authorizing the governor or attorney general to



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          prosecute claims on behalf of the relevant state agencies. Id. at 966.
          Instead, any enforcement authority only derived from a “general en-
          forcement power.” See id. at 967.

             In contrast, the attorney general admits here that he has a “client-
          service duty” in the exact context at issue in this case. Indeed, as Plain-
          tiffs note, Colorado law specifically requires the attorney general to
          bring charges referred to him by the Medical and Nursing Boards. See
          Doc. 71 at 24-26. Just because SB 23-190 did not create this duty does
          not mean that the Eleventh Amendment shields the attorney general
          from liability for enforcing provisions in that law under an enforcement
          authority provided in a closely related statute. See Finstuen v.
          Crutcher, 496 F.3d 1139, 1151 (10th Cir. 2007). Indeed, the “Young” in
          Ex parte Young itself was a state attorney general with enforcement
          authority akin to that involved here. See 209 U.S. at 150-61.

             The attorney general also suggests that, without a referral from the
          boards, he has no duty and no demonstrated willingness to enforce Sec-
          tion Three. But there is no evidence suggesting that the boards will not
          make such referrals. To the contrary, neither board (nor the attorney
          general) has made any sort of disavowal as to the enforcement of Sec-
          tion Three. This argument, therefore, is unavailing, and the Eleventh
          Amendment does not bar Plaintiffs’ Section Three claims against the
          attorney general.

             To summarize, the attorney general’s standing arguments fail, as
          do his arguments that Plaintiffs fail to state a claim for part of their
          advertising-related claims and that the Eleventh Amendment bars
          their Section Three claims against him. The Nursing Board’s related
          arguments fail for similar reasons. Both the attorney general’s and the
          Nursing Board’s motions to dismiss will therefore be denied, and the



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          Court has subject-matter jurisdiction over this dispute as to the State
          Defendants.

        II. Plaintiffs Are Entitled to a Narrow Injunction

            A. Likelihood of Success on the Merits

                  1.   Plaintiffs Are Likely to Succeed on Their
                       Section Three Claims

           Plaintiffs have demonstrated a likelihood of success on the merits of
        their free-exercise claims against Section Three of SB 23-190. The First
        Amendment of the United States Constitution declares that “Congress
        shall make no law respecting an establishment of religion, or prohibiting
        the free exercise thereof.” U.S. Const. amend. I. Under the Constitu-
        tion’s protection, as applied to the states through the Fourteenth
        Amendment, government action may not restrict the free exercise of re-
        ligion.

           The Supreme Court has long held that laws may burden religious
        exercise only “so long as they are neutral and generally applicable.”
        Smith, 494 U.S. at 878-82. If neutral and generally applicable, a law
        need only satisfy minimal scrutiny by being rationally related to a legit-
        imate government end. United States v. Hardman, 297 F.3d 1116, 1126
        (10th Cir. 2002) (“In effect, Smith creates a ‘safe harbor’—if the law is ‘a
        valid and neutral law of general applicability’ . . . .”). In contrast, “if a
        law that burdens a religious practice or belief is not neutral or generally
        applicable, it is subject to strict scrutiny, and ‘the burden on religious
        conduct violates the Free Exercise Clause unless it is narrowly tailored
        to advance a compelling government interest.’” Axson-Flynn v. Johnson,
        356 F.3d 1277, 1294 (10th Cir. 2004); see also Church of the Lukumi Ba-
        balu Aye, Inc. v. Hialeah, 508 U.S. 520, 546 (1993).



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           There is no question whether Section Three burdens Bella Health’s
        free exercise of religion. It does. Bella Health considers it a religious ob-
        ligation to provide treatment for pregnant mothers and to protect un-
        born life if the mother seeks to stop or reverse an abortion. Doc. 92 at 29
        (“As a matter of conscience, Plaintiffs cannot refuse to administer pro-
        gesterone to a woman who desires to continue her pregnancy simply be-
        cause she took mifepristone.”). The State Defendants have not contested
        that SB 23-190 burdens Bella Health’s religious practice. Indeed, it is
        not up to the State or the Court to second-guess the sincerity of Bella
        Health’s religious motivations or to suggest alternative means of satis-
        fying Plaintiffs’ religious calling.

           The more difficult question is whether Section Three’s prohibition on
        abortion pill reversal is neutral and generally applicable. It is not for
        three reasons. First, the law treats comparable secular activity more fa-
        vorably than Bella Health’s religious activity. See Tandon v. Newsom,
        141 S. Ct. 1294, 1296 (2021). Second, the law contains mechanisms for
        exemptions that undercut the State’s expressed interests. See Fulton v.
        City of Philadelphia, 141 S. Ct. 1868, 1877 (2021). Third, the law’s object
        and effect is to burden religious conduct in a way that is not neutral.
        See Lukumi, 508 U.S. at 546; see also Fellowship of Christian Athletes v.
        San Jose Unified Sch. Dist., 82 F.4th 664, 686 (9th Cir. 2023) (describing
        these as “three bedrock requirements of the Free Exercise Clause that
        the government may not transgress, absent a showing that satisfies
        strict scrutiny”). As discussed below, Section Three does not survive the
        strict scrutiny triggered by the violation of these “bedrock require-
        ments.” Christian Athletes, 82 F.4th at 686.




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                     a. Section Three Likely Treats Religious Activity
                        Less Favorably Than Comparable Secular
                        Activity

           Plaintiffs have shown that the State’s regulation of progesterone us-
        age treats some comparable secular uses more favorably than Bella
        Health’s religiously motivated usage. “[G]overnment regulations are not
        neutral and generally applicable, and therefore trigger strict scrutiny
        under the Free Exercise Clause, whenever they treat any comparable
        secular activity more favorably than religious exercise.” Tandon, 141
        S. Ct. at 1296. “[W]hether two activities are comparable . . . must be
        judged against the asserted government interest that justifies the regu-
        lation at issue.” Id.

           The State first argues that abortion pill reversal stands alone and
        that there is no comparable secular activity. In other words, according
        to the State, its asserted interest is so narrowly defined as to only en-
        compass a ban on abortion pill reversal, and possibly only progesterone-
        based abortion pill reversal. But “[o]nly by adjusting the dials just
        right—fine-tuning the level of generality up or down for each case based
        solely on the identity of the parties and the substance of their views—
        can you engineer the” the State’s conclusion that there is no comparable
        secular activity. Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights
        Comm’n, 138 S. Ct. 1719, 1739 (2018) (Gorsuch, J., concurring). Nor can
        the State simply rely on the fact that this law implicates health and
        safety issues to suggest that there can never be comparable secular ac-
        tivities. See, e.g., Denver Bible Church v. Azar, 494 F. Supp. 3d 816, 835
        (D. Colo. 2020) (holding that law that exempted secular gatherings that
        posed similar threats of COVID-19 exposure as religious gatherings un-
        dermined state’s asserted interest in protecting the public from
        COVID-19); see also Tandon, 141 S. Ct. at 1296 (“Comparability is



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        concerned with the risks various activities pose, not the reasons why
        people gather.”); Lukumi, 508 U.S. at 538 (holding that stated interest
        of “protecting the public health” in banning animal sacrifice was under-
        inclusive due to city’s failure to also ban improper disposal of garbage
        by restaurants or hunters from bringing their kill to their houses, for
        instance).

           To the extent the State has interests broader than the banning of
        progesterone-based abortion pill reversal, it suggests that it seeks to
        prevent off-label use of drugs where there is “neither scientific evidence
        demonstrating that [the use] can achieve its intended benefit, nor is
        there scientific evidence assessing its potential risk to patients.” Doc. 99
        at 25. In other words, the State’s asserted interests are protecting pa-
        tients from off-label uses of prescription drugs (or perhaps from any form
        of treatment) that lack evidence of (1) efficacy and (2) safety.

           Viewed broadly, the State’s regulatory regime is vastly underinclu-
        sive as to comparable secular activities. The State has provided little, if
        any, evidence that the legislature has regulated the off-label use of hor-
        mones or any other drugs prophylactically in the way it has done here.
        This mirrors the level of generality considered in Lukumi, where the
        state failed to regulate many other secular activities such as pest exter-
        mination, euthanasia of stray dogs, and even fishing, all of which the
        Court suggested were comparable to ritual animal sacrifice for purposes
        of this analysis. See 508 U.S. at 543-44.

           Even viewed more narrowly, the State’s regulation of progesterone
        for treatments affecting pregnant women is underinclusive as to compa-
        rable secular uses of progesterone. For example, the State Defendants
        argue that other uses for progesterone are not comparable to abortion
        pill reversal because that usage is uniquely unsupported by scientific



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        literature. But that isn’t quite so. Similar scientific uncertainty (even if
        arguably not to the same exact degree) remains as to some of those other
        uses, even according to Defendants—a point that Defendants’ expert has
        made in relation to the use of progesterone to treat threatened miscar-
        riages in the first trimester. See Doc. 99-1 at 8-9. Yet the State does not
        ban the use of progesterone in that context despite relying on a New
        England Journal of Medicine article to argue that it may be ineffective
        for this purpose. See id. The State similarly does not regulate patients
        or doctors who fail to complete the full two-pill medication abortion reg-
        imen despite relying on evidence suggesting that doing so may raise
        safety risks. See Doc. 99-1 at 19 (noting that a practice bulletin warns
        clinicians that “use of mifepristone without misoprostol could be associ-
        ated with increased risk of hemorrhage”).3 This under-inclusivity of reg-
        ulation in a closely related context further undermines the State’s as-
        serted interest in protecting patients from treatments or protocols with
        uncertain efficacy or safety.

            At this stage, Bella Health has adequately shown that there are mul-
        tiple comparable secular medical practices that Section Three does not
        ban. There is not typically a problem with singling out a drug or medical
        practice for strict regulation, even if comparable activity goes unregu-
        lated. But doing so in a way that burdens religious activity triggers strict
        scrutiny. See Lukumi, 508 U.S. at 545 (holding that improper disposal
        of animal carcasses was “a general problem that causes substantial



        3   Not only does the State not bar the use of mifepristone without the
        follow-up use of misoprostol, the State argues that this is the “standard
        of care” for patients who regret taking the first pill. Doc. 99 at 4 (“The
        current standard of care for patients who do change their mind before
        ingesting misoprostol is to determine whether the pregnancy has con-
        tinued, and if so, begin expectant management, also known as watchful
        waiting.”).


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        health risks, but which [the city] addresses only when it results from
        religious exercise”); Christian Athletes, 82 F.4th at 686 (holding that “fa-
        voring comparable secular activity is sufficient” to trigger strict scrutiny
        under Tandon). Such is the case here.

                    b. Section Three and the Boards’ Rules Contain
                       Mechanisms for Individualized Exemptions

           Section Three is also not generally applicable because it allows indi-
        vidualized exemptions that would undermine the State’s asserted inter-
        ests, thereby triggering strict scrutiny. See Fulton, 141 S. Ct. at 1877 (“A
        law is not generally applicable if it invite[s] the government to consider
        the particular reasons for a person’s conduct by providing a mechanism
        for individualized exemptions.”) (internal quotation marks omitted).
        “Our Circuit has held that a system of individualized exemptions is one
        that ‘give[s] rise to the application of a subjective test.’” Axson-Flynn,
        356 F.3d at 1297 (quoting Swanson v. Guthrie Ind. Sch. Dist. No. I-L,
        135 F.3d 694, 701 (10th Cir. 1998).

           Section Three and its implementing rules contain multiple mecha-
        nisms for exceptions. At the initial stage, the uniformity of Section
        Three’s application was dependent on the outcome of three boards’ rule-
        making. The fact that the law itself included this discretionary measure
        “undermines the [State’s] contention that its [regulations] can brook no
        departures.” Fulton, 141 S. Ct. at 1882. And though medication abortion
        reversal is now uniformly considered “unprofessional conduct” under the
        statute, the implementing rules promulgated by the boards still afford
        discretion, at least according to the State, under Fulton’s exception anal-
        ysis. The Medical Board prohibits the usage of progesterone for abortion
        pill reversal outright, but maintains that the administration of other
        drugs for abortion pill reversal will be evaluated on a “case-by-case” ba-
        sis. The other boards purport to retain even greater discretion, claiming


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        that they will evaluate all abortion pill reversal on a “case-by-case” ba-
        sis. While I am not so sure that the boards retain full discretion to de-
        termine whether medication abortion reversal is unprofessional conduct
        given the clear language of SB 23-190 (which appears to create a per se
        ban), this remains the State’s position about how it will enforce
        SB 23-190.

           In any event, as counsel explained at the hearing, the boards have
        discretion throughout the disciplinary process to decide whether and
        how to punish a provider who engages in unprofessional conduct or the
        provision of treatment outside generally accepted standards of practice.
        This is the same type of “subjective test” addressed in Axson-Flynn that
        triggers strict scrutiny under Fulton. Axson-Flynn, 356 F.3d at 1297
        (holding that a law contains individualized exemptions when it contains
        “systems that are designed to make case-by-case determinations”); Ful-
        ton, 141 S. Ct. at 1877 (“A law is not generally applicable if it invite[s]
        the government to consider the particular reasons for a person’s conduct
        by providing a mechanism for individualized exemptions.”). Case-by-
        case determinations like those involved here invite government officials
        to “consider the particular reasons for a person’s conduct.” Fulton, 141
        S. Ct. at 1877. Such determinations, under binding Tenth Circuit and
        Supreme Court precedent, are not generally applicable.

                     c.   The Object and Practical Effect of Section Three
                          Is to Primarily Burden Religious Conduct

           Finally, Lukumi provides a likely third avenue for Plaintiffs to suc-
        ceed on the merits of their free-exercise claims. Under Lukumi, particu-
        larly when viewed in light of more recent cases like Tandon and Fulton,
        the central question is whether a religious practice was the “object” of
        the legislation. See Lukumi, 508 U.S. at 535-36. Such is the case where
        the legislature prohibits an activity knowing that the “burden” of the


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        law or its “effect . . . in its real operation” will fall predominantly on re-
        ligious adherents. See id. at 535-36. Under this analysis, Plaintiffs need
        not show explicit animus or “targeting” of religion qua religion on the
        part of legislators to prevail.4 It is enough to show targeting of a practice
        the legislature understands to be undertaken for religious reasons by
        those who will bear the burden of the regulation.

            The object of Section Three of SB 23-190 is the interruption of a med-
        ication abortion by use of any drug, not just progesterone. Colo. Rev.
        Stat. § 12-30-120(2)(a). The target of the bill is plainly abortion bill re-
        versal. And the legislature knew that the burden of this prohibition, in
        operation, would primarily fall on religious adherents. For example, Sec-
        tion One of SB 23-190 warns of the dangers of “anti-abortion centers,
        also known as ‘crisis pregnancy centers’” that “aim ‘to prevent abortions
        by persuading people that adoption or parenting is a better option.’”
        SB 23-190 § 1(1)(c) (quoting an article from the American Medical



        4   Plaintiffs ask the Court to rely on Masterpiece and dicta in Lukumi
        to find that individual legislators expressed animus toward religion it-
        self during the legislative debate over SB 23-190. In Lukumi, Justice
        Kennedy took notice of city council members’ statements as evidence
        that they passed the ordinance to “target animal sacrifice by Santeria
        worshippers because of its religious motivation.” Lukumi, 508 U.S.
        at 541-42 (emphasis added). But this analysis was not part of the ma-
        jority opinion. See id. at 522-23. And in Masterpiece, the relevant com-
        ments came from members of an adjudicative body, not legislators—a
        point that the Court used to distinguish the case from Lukumi. 138
        S. Ct. at 1730 (noting that statements made by lawmakers are “made in
        a very different context” from those made by an adjudicatory body and
        distinguishing Lukumi on this ground). While legislators’ statements
        seem relevant to show that the “object” of the law here was a religious
        practice, I do not read these cases to require Plaintiffs to show that the
        law targets a religious practice because it is religious. Instead, it is suf-
        ficient that the legislature had knowledge that the predominant effect
        of the law would be to burden religious practice and that the law does
        indeed have that effect.


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        Association’s Journal of Ethics that appears to note that these centers
        are primarily religiously-motivated). SB 23-190 further warns that
        “[a]nti-abortion centers are the ground-level presence of a well-coordi-
        nated anti-choice movement.” Id. § 1(1)(d). “Crisis pregnancy centers” or
        “anti-abortion centers” are generally understood to be primarily run by
        Christians, as the members of the legislature explained. One bill spon-
        sor stated during a legislative hearing that “anti-abortion center”—a
        term used in the bill—referred to “faith-based organizations that pose
        as a comprehensive reproductive healthcare clinic to intercept patients
        seeking abortion care.” Doc. 94-10 at 3 (emphasis added). A representa-
        tive also noted in a legislative hearing that “many of these crisis preg-
        nancy centers are religiously affiliated.” Doc. 94-13 at 14 (emphasis
        added). It seems clear then, both given this legislative history and the
        bill’s text itself, that the legislature was aware that the burden of this
        prohibition would primarily fall on religious adherents.

           The State is right that it generally has the power to “prophylacti-
        cally” ban certain practices and uses of approved medicines even without
        evidence of prior complaints or harm without banning all other practices
        that might be in a similar position. But when the practice it chooses to
        ban is one that it knows is undertaken for religious reasons, it loses the
        protections of Smith’s “safe harbor” rule.

                     d. Section Three Is Unlikely to Survive Strict
                        Scrutiny

           Because Section Three of SB 23-190 is not neutral and generally ap-
        plicable, it must satisfy strict scrutiny. Fulton, 141 S. Ct. at 1881. “[H]is-
        torically, strict scrutiny requires the State to further ‘interests of the
        highest order’ by means ‘narrowly tailored in pursuit of those interests.’”
        Id. (quoting Lukumi, 508 U.S. at 546). The State has not even attempted
        to argue that Section Three satisfies this exacting standard.


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           The State’s interests in regulating the medical profession, generally,
        are too broadly formulated. See Fulton, 141 S. Ct. at 1879-81. Its more
        specific interests, in protecting the public from off-label uses of proges-
        terone that lack evidence of efficacy and safety, are undermined by the
        disparate treatment of comparable secular activity, and the case-by-case
        possibility of individualized exceptions. See Tandon, 141 S. Ct. at 1296;
        Fulton, 141 S. Ct. at 1877. The State Defendants maintain that the law
        should be scrutinized under the rational-basis test, and so do not engage
        in a substantive defense of the State’s compelling interests or narrow
        tailoring of the law. See Doc. 99 at 10-12. As a result, the State has not
        carried its burden to show that it has narrowly tailored its restrictions
        to an interest sufficiently compelling to justify an infringement on Plain-
        tiffs’ Free Exercise rights.

                2.   A Limited Injunction as to Plaintiffs’ Advertising-
                     Based Claims is Appropriate

           Plaintiffs also argue that SB 23-190’s prohibitions on advertising vi-
        olate their free-speech rights. These claims invoke a number of broad,
        potentially thorny constitutional issues. But the Court need not resolve
        those issues to maintain the current status quo given the parties’ appar-
        ent shared understanding on several key issues.

           First, Plaintiffs suggested at the hearing that allowing them to con-
        tinue using phrases including “comprehensive, life-affirming OB-GYN
        practice,” “comprehensive, life-affirming health care,” “comprehensive
        healthcare,” “full continuum of care,” and “full-service Family Medicine
        and OB-GYN medical center” to describe their healthcare practice would
        be sufficient to protect their interests pending a final determination of
        their claims on the merits. Defendants do not really take issue with any
        of this. Indeed, Defendants have argued that this language does not run
        afoul of Section Two of SB 23-190. See Doc. 111 at 45-46 (defense counsel


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        stating that Plaintiffs’ advertisements would not deceive a patient into
        thinking that Plaintiffs offer abortions). Given that Defendants do not
        substantively resist this preliminary relief, and given the irreparable
        harm to Plaintiffs if their free-speech rights are violated, I will enjoin
        the Defendants from enforcing Section Two on the basis of Plaintiffs’ use
        of these phrases to preserve the status quo pending trial.

           Plaintiffs also want to continue advertising abortion pill reversal.
        This, too, seems unoffensive to Defendants. Arguing that Section One of
        SB 23-190 has no operative effect, Defendants stated, “If the legislature
        had wanted to create a statute making ‘advertising for or providing . . .
        medication abortion reversal’ unlawful under the CCPA, it would have
        done so.” Doc. 99 at 30. Defendants made similar concessions at the
        hearing. See Doc. 111 at 52 (arguing that Section One “is not law” and
        suggesting that advertisement of abortion pill reversal is not per se un-
        lawful under SB 23-190). Thus, it seems, Defendants’ position is that
        simply advertising medication abortion reversal is not a violation of the
        CCPA. While Plaintiffs are “arguably” violating the law as stated above,
        this apparent common understanding among the parties warrants en-
        joining the State Defendants on this basis as well to protect Plaintiffs’
        free-speech rights which may be at risk absent court intervention. This
        is particularly so in the face of apparently no resistance from the State
        on this issue at this time.

            B. Irreparable Harm

           “When an alleged constitutional right is involved, most courts hold
        that no further showing of irreparable injury is necessary” to obtain a
        preliminary injunction. Awad v. Ziriax, 670 F.3d 1111, 1131 (10th
        Cir. 2012) (alteration omitted) (upholding finding of irreparable harm in
        pre-enforcement First Amendment case). Indeed, the “loss of First



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        Amendment freedoms, for even minimal periods of time, unquestionably
        constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976)
        (emphasis added). This principle applies in pre-enforcement cases as
        well. See Awad, 670 F.3d at 1131; Verlo v. Martinez, 820 F.3d 1113, 1127
        (10th Cir. 2016) (upholding irreparable-harm holding in pre-enforce-
        ment First Amendment case); Citizens United v. Gessler, 773 F.3d 200,
        218-19 (10th Cir. 2014) (same). In response, Defendants reiterate their
        arguments about Plaintiffs’ likelihood of success disposed of above.
        Given that Defendants raise no other arguments, and that Defendants
        concede that this factor “collapses” with the first factor, Doc. 99 at 38, I
        find that Plaintiffs would suffer irreparable harm absent a preliminary
        injunction here.

            C. Balance of Equities and the Public Interest

           As to the balance of equities and the public interest, these factors
        “merge” when the government is the party opposing the injunction.
        Nken, 556 U.S. at 435. But where a law is likely unconstitutional, the
        interests of the government “do not outweigh” the plaintiff’s interest in
        having its constitutional rights protected. Awad, 670 F.3d at 1131.

           The State does not specifically identify its interest in avoiding a pre-
        liminary injunction for purposes of these factors. See Doc. 99 at 39. In-
        stead, it refers generally to SB 23-190. As the Plaintiffs have pointed
        out, they and their clients believe their practice of medication abortion
        reversal implicates matters of life and death. See Doc. 94 ¶ 116 (alleging
        that, since SB 23-190’s enactment, one of their patients who underwent
        abortion pill reversal gave birth to a healthy baby, with three more such
        patients scheduled to give birth before year’s end). Meanwhile, the State
        has repeatedly declined to enforce the law, first for the nearly six months
        it took the boards to complete their rulemaking, and now again for three



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        weeks pending a decision on the Plaintiffs’ preliminary-injunction mo-
        tion. See Doc. 88. And the law itself provided a mechanism for undoing
        its own prohibitions. See SB 23-190 § 3(2).

           Regardless of the interests that the State may have, those interests
        cannot outweigh the Plaintiffs’ interest in protecting their First Amend-
        ment rights. See Awad, 670 F.3d at 1131. Defendants’ cited cases, pur-
        porting to stand for the proposition that the interests of the public or the
        voters can trump Plaintiffs’ First Amendment rights, are either unhelp-
        ful or distinguishable. E.g., Fish v. Kobach, 840 F.3d 710, 755-56 (10th
        Cir. 2016) (upholding injunction in favor of party claiming violation of
        constitutional right to vote in part based on the public’s interest in
        “broad exercise of the right to vote”); Thompson v. Dewine, 959 F.3d 804,
        812 (6th Cir. 2020) (finding plaintiffs were not likely to succeed on the
        merits and that enjoining defendant state official from conducting
        state’s elections pursuant to a statute would irreparably harm the
        state). To the contrary, “when a law is likely unconstitutional, the inter-
        ests of those the government represents, such as voters, do not outweigh
        a plaintiff’s interests in having its constitutional rights protected.” Citi-
        zens United, 773 F.3d at 218 (alterations omitted).

            D. Security Is Not Necessary to Issue a Preliminary
               Injunction Here

           Under Federal Rule of Civil Procedure 65(c), a court may issue a pre-
        liminary injunction “only if the movant gives security in an amount that
        the court considers proper to pay the costs and damages sustained by
        any party found to have been wrongfully enjoined.” The parties have not
        briefed this issue. In the Tenth Circuit, district courts have “wide dis-
        cretion” in determining “whether to require security.” Winnebago Tribe
        of Neb. v. Stovall, 341 F.3d 1202, 1206 (10th Cir. 2003) (emphasis
        added). Where there is “an absence of proof showing a likelihood of


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        harm” to the enjoined party, failing to require a bond is permissible. See
        id.

              Defendants have not suggested that enjoining them would cause any
        monetary damages, nor have they requested a bond. Given the current
        record, therefore, I find it appropriate to waive a security bond in this
        case. If Defendants believe a bond is necessary, however, they may file
        a motion promptly to address this issue.

                                      CONCLUSION

              It is ORDERED that:

              The district attorneys’ motions to dismiss, Docs. 58, 67, 95, are
        GRANTED, and Plaintiffs’ claims against District Attorneys McCann,
        Kellner, and Dougherty are DISMISSED WITHOUT PREJUDICE;

              The attorney general’s motion to dismiss, Doc. 68, is DENIED; and

              The Nursing Board’s motion to dismiss, Doc. 107, is DENIED.

              It is FURTHER ORDERED that Plaintiffs’ Motion for a
        Preliminary Injunction, Doc. 92, is GRANTED as follows:

              Pending a final determination of Plaintiffs’ claims on the merits,
        Defendants, their officers, agents, servants, employees, attorneys, and
        any others who are in active concert or participation with them are
        PRELIMINARILY ENJOINED from—

              Taking any enforcement action under SB 23-190, its implementing
        regulations, or the Colorado Consumer Protection Act against Plaintiffs
        and all those acting in concert with them based on their provision of
        abortion pill reversal treatment;

              Taking any enforcement action under SB 23-190 or the Colorado
        Consumer Protection Act against Plaintiffs and all those acting in


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        concert with them based on the Plaintiffs’ use of the phrases
        “comprehensive, life-affirming OB-GYN practice,” “comprehensive, life-
        affirming health care,” “comprehensive healthcare,” “full continuum of
        care,” and “full-service Family Medicine and OB-GYN medical center”
        to describe their healthcare practice; and

           Taking any enforcement action under SB 23-190 or the Colorado
        Consumer Protection Act against Plaintiffs and all those acting in
        concert with them based on the language of Plaintiffs’ “Abortion Pill
        Reversal” webpage, Doc. 94-3.

        DATED: October 21, 2023             BY THE COURT:



                                            Daniel D. Domenico
                                            United States District Judge




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